

Matter of Sheridan (2023 NY Slip Op 00614)





Matter of Sheridan


2023 NY Slip Op 00614


Decided on February 3, 2023


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on February 3, 2023
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., LINDLEY, CURRAN, AND BANNISTER, JJ. (Filed Jan. 26, 2023.)


&amp;em;

[*1]MATTER OF JOHN MICHAEL SHERIDAN, JR., AN ATTORNEY, RESIGNOR.



MEMORANDUM AND ORDER
Application to resign for non-disciplinary reasons accepted and name removed from roll of attorneys.








